             Case 2:14-cv-02192-MAK Document 54 Filed 04/06/23 Page 1 of 1




                                 DISTRICT ATTORNEY'S OFFICE
                                     THREE SOUTH PENN SQUARE
                               PHILADELPHIA, PENNSYLVANIA 19107-3499
                                             215-686-8000


                                                                                        April 6, 2023
 Carol Anderson
 748 Parker St.
 Langhorne, PA 19047


           Re: Fernando Nunez v. Superintendent Bernadette Mason, et al., No. 14-2192

 Dear Ms. Anderson,

        Pursuant to our telephone conversations, enclosed kindly find the following documents
related to Fernando Nunez’s pending federal habeas matter: (1) Nunez’s Petition for a Writ of
Habeas Corpus; (2) Nunez’s Memorandum of Law in Support of Petition; (3) the Commonwealth’s
Response; and (4) the Court’s April 6, 2023 Order.

        Please note that, pursuant to the Court’s April 6 Order, you may, but are not required to do
the following on or before May 1, 2023:

 1) Provide my office with a written position as to Nunez’s petition for habeas corpus relief;

 2) File a statement of interest with the court; and

 3) Request notice of all sentence modifications and public hearings.

Please let me know if you have any further questions.

Sincerely,

/s/ Heather Wames


Heather Wames                                          David J. Napiorski
Assistant Supervisor                                   Assistant District Attorney
Victim Services Unit                                   Federal Litigation Unit
Philadelphia District Attorney’s Office                Philadelphia District Attorney




w/ Encl.
